






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00155-CV






City of Bee Cave, Texas, Appellant


v.


AusPro Enterprises, L.P., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GN-11-003892, HONORABLE TIM SULAK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

	Appellant has filed an unopposed motion to dismiss its appeal, explaining that
the&nbsp;parties have settled their dispute.  We grant the motion and dismiss the appeal.  See Tex. R. App.
P. 42.1(a).


						____________________________________

						David Puryear, Justice

Before Justices Puryear, Pemberton and Henson

Dismissed on Appellant's Motion

Filed:   September 13, 2012


